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12
                          UNITED STATES DISTRICT COURT
13                             DISTRICT OF NEVADA

14   Cary Williams,
                                             Case No. 2:98-cv-00056-APG-VCF
15                Petitioner,
                                             Stipulation and Proposed
16         v.                                Scheduling Order to Continue
                                             Proceedings 90 days
17   William Gittere, et al.,
                                             DEATH PENALTY CASE.
18                Respondents.

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1          In January of this year, the parties filed a Joint Notice Re Evidentiary

2    Hearing Scheduling, pursuant to this Court’s Order instructing the parties to confer

3    regarding a number of issues related to the evidentiary hearing in this case. 1 In

4    light of that joint notice, this Court scheduled the hearing for January 24, 2022, and

5    also scheduled deadlines to correspond with that hearing date. 2

6          IT IS HEREBY STIPULATE AND AGREED that:

7          1.     Last week, the parties conferred because counsel for Cary Williams

8    needed to request an additional two weeks for the First Expert Disclosure. 3 During

9    that conference, counsel for Mr. Williams also made the State aware of ongoing

10   concerns related to witness safety and the pandemic. As the Court is undoubtedly

11   aware, the COVID-19 pandemic continues to pose challenges, and this summer has

12   presented a spike in new cases. 4 A number of Mr. Williams’s witnesses are older or

13   have medical conditions.

14         2.     At the time the parties conferred and asked for a late-2021 hearing

15   date, the parties believed the pandemic would be mostly under control (as reported

16   by news organizations) and, thus, travel, lodging, and participating in the hearing

17   would be safe for all. However, the parties are concerned about the risk posed to

18   witnesses (both lay and expert) as well as court staff and attorneys, in holding the

19   hearing in January.

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21
           1 See ECF Nos. 287, 286.
22         2 ECF No. 288.
           3 See ECF No. 288 at 1 (parties to disclose experts on Oct. 5, 2021).
23         4 See Coronavirues in Nevada: Latest COVID-19 case counts, maps and

     graphs, The Nev. Independent (last updated Sept. 29, 2021).
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1            3.   The parties wish to emphasize that, in the time since this Court issued

2    the scheduling order in this case, the parties have been active in preparing for the

3    hearing. However, the pandemic has posed challenges. For example, one of Mr.

4    Williams’s experts had to delay a trip to see Mr. Williams because Ely State Prison

5    had a COVID-related lockdown. Though meeting with witnesses has been possible,

6    precautions related to the pandemic have made it more difficult to schedule these

7    meetings and to conduct travel for them.

8            4.   In addition to pandemic-related concerns, counsel for Respondents

9    experienced increased workloads over the past year due to division changes,

10   internal transfers, and related training responsibilities, as well as increased

11   coverage responsibilities due to multiple colleagues’ planned and unplanned

12   medical leave. Unfortunately, Respondents’ counsel were unable to anticipate these

13   changes when the parties entered into the original agreement. Circumstances have

14   since stabilized, but the impact on time has been significant, and Respondents’

15   counsel support the 90-day continuance.

16           5.   Additionally, Ms. Fraley and Mr. Finlayson will have oral argument

17   before the Ninth Circuit in February of 2021.

18           6.   The parties hope that 90-days will be sufficient because the number of

19   vaccinated individuals and mandates continue to rise, and hopefully will correlate

20   with a downward trend in COVID-19 infections. The parties agree that 90-days will

21   be sufficient to address any non-pandemic related concerns. Thus the parties agreed

22   to request a continuance of the hearing—and the related deadlines—for ninety (90)

23   days.


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1           7.    The parties ask this Court to modify its previous order and adopt the

2    following schedule for this evidentiary hearing. 5

3                 (a) The evidentiary hearing will take place in May 2022. 6

4                 (b) The first disclosure of experts will occur on January 3, 2022.

5                 (c) The second disclosure of experts will occur on January 17, 2022.

6                 (d) Mr. Williams’s pre-hearing brief will be due on February 14, 2022.

7                    The State’s responsive pre-hearing brief will be due on February 28,

8                    2022. Mr. Williams’s reply will be due on March 7, 2022.

9                 (e) The witness lists and exhibits list will be due on March 10, 2022.

10                (f) Pre-hearing motions will be due on March 17, 2022. Any

11                   oppositions or replies will be governed by LR 7-2(b).

12                (g) No later than five days before the hearing begins, the parties will

13                   mark and submit exhibits.

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19          5 If this Court declines to adopt this stipulated schedule, counsel for Mr.
     Williams requests a 2-week extension for the First Disclosure of Experts, and the
20   adjustments necessary to the scheduling order to accommodate that 2-week
     extension. The State does not oppose this request. If this Court denies the request
21   for a 90-day continuance, the parties can confer and propose a new scheduling order
     to accommodate the 2-week extension for the First Disclosure of Experts, while
22   maintaining the January 25, 2022 hearing date.
            6 Ninety days from January 25, 2022 is April 25, 2022. However, counsel for
23   Mr. Williams has determined that there are too many scheduling conflicts with
     witnesses for that week.
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1                (h) The parties will continue to file status reports at three-month

2                    intervals, consistent with the January 14, 2021 order.

3          Dated this 30th day of September, 2021.

4
     Rene L. Valladares                           Aaron Ford
5    Federal Public Defender                      Attorney General of Nevada

6
     /s/ Randolph M. Fiedler                      /s/ Jessica Perlick
7    Randolph M. Fiedler                          Jessica Perlick
     Assistant Federal Public Defender            Senior Deputy Attorney General
8

9    /s/ Heather Fraley                           /s/ Charles L. Finlayson
     Heather Fraley                               Charles L. Finlayson
10   Assistant Federal Public Defender            Senior Deputy Attorney General

11
     /s/ Brad Levenson
12   Brad Levenson
     Assistant Federal Public Defender
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1                                           ORDER

2          The parties have submitted a stipulation requesting this Court extend by 90

3    days all deadlines in this case and re-scheduling the hearing to May 2022. Based on

4    this stipulation and for good cause shown, it is hereby ordered that the following

5    schedule will govern the evidentiary hearing.

6          The Evidentiary Hearing

7          The evidentiary hearing will commence on May 16, 2022, at 9:00 a.m., in

8    Las Vegas courtroom 6C.

9          First Disclosure of Experts

10         By January 3, 2022, the parties will disclose to each other the names of any

11   experts who will testify, accompanied by a written report for each expert in

12   compliance with Fed. R. Civ. P. 26(a)(2)(B). Such disclosure will be made by email

13   or other informal means. The parties need not file formal notices.

14         Second Disclosure of Experts

15         By January 17, 2022, the parties will disclose to each other the names of

16   any rebuttal experts, accompanied by a written report for each expert in compliance

17   with Fed. R. Civ. P. 26(a)(2)(B). Such disclosure will be made by email or other

18   informal means. The parties need not file formal notices.

19         Pre-Hearing Briefs

20         Williams will submit a pre-hearing brief by February 14, 2022. The

21   respondents will file a responsive pre-hearing brief by February 28, 2022.

22   Williams may file a reply to the respondents’ brief by Mar. 7, 2022.

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1          Witness List and Exhibit List

2          The parties will file witness lists and exhibit lists no later than March 10,

3    2022. The parties will file a joint exhibit list, identifying the exhibits they agree are

4    admissible. The parties will file separate lists of exhibits that the parties do not

5    agree are admissible.

6          Pre-Hearing Motions

7          The parties will file any pre-hearing motions by March 17, 2022. The

8    schedule for the briefing of such motions will be as set forth in Local Rule 7-2(b).

9          Marking and Submission of Exhibits

10         The parties are to contact Melissa Johansen, at 702-464-5415, no less than

11   five calendar days before the evidentiary hearing to arrange to mark and submit

12   exhibits.

13         Status Reports

14         The parties will continue to file, at three-month intervals and continuing

15   until the hearing, joint status reports regarding the feasibility of adhering to this

16   scheduling order in light of the COVID-19 pandemic, consistent with this Court’s

17   January 14, 2022 order. See ECF No. 288 at 2.

18         Dated this ______
                       1st day of __________________,
                                    October           2021.

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                                                     ANDREW P. GORDON
21                                                   UNITED STATES DISTRICT JUDGE

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